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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                              NEWNAN DIVISION

YVONNE BROWN,                          )
                                       )
      Plaintiff,                       )
                                       )       CIVIL ACTION
v.                                     )
                                       )       FILE No. _____________________
SI MANAGEMENT INC.,                    )
                                       )
      Defendant.                       )

                                   COMPLAINT

      COMES NOW, YVONNE BROWN, by and through the undersigned

counsel, and files this, her Complaint against Defendant SI MANAGEMENT INC.

pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.

(“ADA”) and the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”).

In support thereof, Plaintiff respectfully shows this Court as follows:

                         JURISDICTION AND VENUE

      1.     This Court has original jurisdiction over the action pursuant to 28

U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et

seq., based upon Defendant’s failure to remove physical barriers to access and

violations of Title III of the ADA.

      2.     Venue is proper in the federal District Court for the Northern District


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of Georgia, Newnan Division, as the parcel of real property at issue in this case is

located in Carroll County, Georgia, and Defendant maintains its Registered Agent

for service of process in Carroll County, Georgia.

                                     PARTIES

       3.     Plaintiff YVONNE BROWN (hereinafter “Plaintiff”) is, and has been

at all times relevant to the instant matter, a natural person residing in Douglasville,

Georgia (Douglas County).

       4.     Plaintiff suffers from Epilepsy, Multiple Sclerosis (“MS”) and has

suffered multiple injuries resulting in irreversible damage to her legs, and is

disabled as defined by the ADA.

       5.     Plaintiff is required to traverse in a wheelchair and is substantially

limited in performing one or more major life activities, including but not limited

to: walking, standing, grabbing, grasping and/or pinching.

       6.     Plaintiff uses a wheelchair for mobility purposes.

       7.     Defendant SI Management Inc (hereinafter “Defendant”) is a Georgia

corporation that transacts business within the State of Georgia and within this

judicial district.

       8.     Defendant may be properly served with process via its Registered

Agent for service of process, to wit: Syed J. Saadat, 157 Commerce Drive, Villa


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Rica, Georgia 30180.

                          FACTUAL ALLEGATIONS

      9.     On or about July 17, 2021, Plaintiff was a customer at “Chevron Food

Mart,” a business located at 157 Commerce Drive, Villa Rica, Georgia 30180.

      10.    Defendant is the owner of the above-referenced business, and is the

lessee (or a sub-lessee) of the real property and improvements that are the subject

of this action. (The structures and improvements situated upon said real property

shall be referenced herein as the “Facility,” and said real property shall be

referenced herein as the “Property”).

      11.    Plaintiff lives approximately twelve (12) miles from the Facility and

Property.

      12.    Plaintiff’s access to the business located at 157 Commerce Drive,

Villa Rica, Georgia 30180 (Carroll County Property Appraiser’s parcel number

V07 0110091), and/or full and equal enjoyment of the goods, services, foods,

drinks, facilities, privileges, advantages and/or accommodations offered therein

were denied and/or limited because of her disabilities, and she will be denied

and/or limited in the future unless and until Defendant is compelled to remove the

physical barriers to access and correct the ADA violations that exist at the Facility

and Property, including those set forth in this Complaint.


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      13.    Plaintiff has visited the Facility and Property at least once before and

intends on revisiting the Facility and Property once the Facility and Property are

made accessible.

      14.    Plaintiff intends to revisit the Facility and Property to purchase goods

and/or services.

      15.    Plaintiff travelled to the Facility and Property as a customer and as an

advocate for the disabled, encountered the barriers to her access of the Facility and

Property that are detailed in this Complaint, engaged those barriers, suffered legal

harm and legal injury, and will continue to suffer such harm and injury as a result

of the illegal barriers to access present at the Facility and Property.

                               COUNT I
                   VIOLATIONS OF THE ADA AND ADAAG

      16.    On July 26, 1990, Congress enacted the Americans with Disabilities

Act 42 U.S.C. § 12101 et seq. (the “ADA”).

      17.     The ADA provided places of public accommodation one and a half

years from its enactment to implement its requirements.

      18.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 (if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      19.    The Facility is a public accommodation and service establishment.

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      20.    The Property is a public accommodation and service establishment.

      21.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

the Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      22.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993, if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      23.    Liability for violations under Title III or the ADA falls on “any person

who owns, leases (or leases to), or operates a place of public accommodation.” 42

U.S.C. § 12182(a).

      24.    The Facility must be, but is not, in compliance with the ADA and

ADAAG.

      25.    The Property must be, but is not, in compliance with the ADA and

ADAAG.

      26.    Plaintiff has attempted to, and has to the extent possible, accessed the

Facility and the Property in her capacity as a customer of the Facility and Property,

and as an advocate for the disabled, but could not fully do so because of her

disabilities resulting from the physical barriers to access, dangerous conditions and


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ADA violations that exist at the Facility and Property that preclude and/or limit her

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      27.    Plaintiff intends to visit the Facility and Property again in the very

near future as a customer and as an advocate for the disabled in order to utilize all

of the goods, services, facilities, privileges, advantages and/or accommodations

commonly offered at the Facility and Property, but will be unable to fully do so

because of her disability and the physical barriers to access, dangerous conditions

and ADA violations that exist at the Facility and Property that preclude and/or

limit her access to the Facility and Property and/or the goods, services, facilities,

privileges, advantages and/or accommodations offered therein, including those

barriers, conditions and ADA violations more specifically set forth in this

Complaint.

      28.    Defendant has discriminated against Plaintiff (and others with

disabilities) by denying her access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Facility

and Property, as prohibited by, and by failing to remove architectural barriers as

required by, 42 U.S.C. § 12182(b)(2)(A)(iv).


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      29.     Defendant will continue to discriminate against Plaintiff and others

with disabilities unless and until Defendant is compelled to remove all

physical barriers that exist at the Facility and Property, including those specifically

set forth herein, and make the Facility and Property accessible to and usable by

Plaintiff and other persons with disabilities.

      30.     A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Facility and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Facility and Property include, but are not limited to:

      (a)     EXTERIOR ELEMENTS:

      (i)     The accessible parking space on the Property is missing

              identification signage, in violation of section 502.6 of the 2010

              ADAAG standards.

      (ii)    The Property has a ramp leading to the accessible entrances of

              the Facility with extreme slope, in excess of 1:10 (one to ten),

              in violation of section 405.2 of the 2010 ADAAG standards.

      (iii)   Due to an apparent policy of placing an unaffixed rubber mat

              on the ground surfaces of the accessible ramp on the Property,


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        said ground surfaces have vertical rises in excess of ¼” (one

        quarter inch) in height and are unstable, in violation 405.4 of

        the 2010 ADAAG standards.

(iv)    The maneuvering clearance before the accessible entrance to

        the Facility is both inadequate in its amount (due to improperly

        placed and obstructive handrails), and is also not level, in

        violation of sections 404.2.4.1 and 404.2.4.4 of the 2010

        ADAAG standards.

(b)     INTERIOR ELEMENTS:

(i)     The interior of the Facility has sales and services counters

        lacking any portion of which that has a maximum height of 36”

        (thirty-six inches) from the finished floor, in violation of

        section 904.4 of the 2010 ADAAG standards.

(ii)    Due to an apparent policy of storing inventory and other items

        within the accessible routes within the Facility, those routes

        lack 36” (thirty-six inches) of clear width, in violation of

        section 403.5.1 of the 2010 ADAAG standards.

(iii)   The Facility lacks restrooms signage that complies with

        sections 216.8 and 703 of the 2010 ADAAG standards.


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(iv)   The hardware on the restroom doors in the Facility have

       operable parts that require tight grasping, pinching or twisting

       of the wrist, in violation of section 309.4 of the 2010 ADAAG

       standards.

(v)    The hand operated flush controls on the commodes in the

       restrooms in the Facility are not located on the open side of the

       restroom, in violation of section 604.6 of the 2010 ADAAG

       standards.

(vi)   The restrooms in the Facility do not have grab bars adjacent to

       the commodes therein, in violation of section 604.5 of the 2010

       ADAAG standards.

(vii) The restrooms in the Facility have cabinet-style sinks that

       provide for inadequate knee and toe clearance thereunder, in

       violation of sections 305, 306 and 606.2 of the 2010 ADAAG

       standards.

(viii) The soap dispensers in the restrooms in the Facility are located

       outside the prescribed vertical reach ranges set forth in section

       308.2.1 of the 2010 ADAAG standards.

(ix)   The mirrors in the restrooms in the Facility exceed the


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                maximum permissible height set forth in section 603.3 of the

                2010 ADAAG standards.

       31.      Without limitation, the above-described violations of the ADAAG

made it more difficult and dangerous for Plaintiff to tutilize the the ramp servicing

the Property, and more difficult for Plaintiff to access all features of the interior of

the Facility.

       32.      The violations enumerated above may not be a complete list of the

barriers, conditions or violations encountered by Plaintiff and/or which exist at the

Facility and Property.

       33.      Plaintiff requires an inspection of Facility and Property in order to

determine all of the discriminatory conditions present at the Facility and Property

in violation of the ADA.

       34.      The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

       35.      All of the violations alleged herein are readily achievable to modify

to bring the Facility and Property into compliance with the ADA.

       36.      Upon information and good faith belief, the removal of the physical


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barriers and dangerous conditions present at the Facility and Property is readily

achievable because the nature and cost of the modifications are relatively low.

      37.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because Defendant has the financial resources to make the necessary

modifications.

      38.    In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.

      39.    Plaintiff is without adequate remedy at law, is suffering irreparable

harm, and reasonably anticipates that she will continue to suffer irreparable harm

unless and until Defendant is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Facility and Property, including

those alleged herein.

      40.    Plaintiff’s requested relief serves the public interest.

      41.    The benefit to Plaintiff and the public of the relief outweighs any

resulting detriment to Defendant.

      42.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees

and costs of litigation from Defendant pursuant to 42 U.S.C. §§ 12188 and 12205.


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      43.   Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to

grant injunctive relief to Plaintiff, including the issuance of an Order directing

Defendant to modify the Facility and Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:

      (a)   That the Court find Defendant in violation of the ADA and ADAAG;

      (b)   That the Court issue a permanent injunction enjoining Defendant from

            continuing its discriminatory practices;

      (c)   That the Court issue an Order requiring Defendant to (i) remove the

            physical barriers to access and (ii) alter the subject Facility and

            Property to make them readily accessible to, and useable by,

            individuals with disabilities to the extent required by the ADA;

      (d)   That the Court award Plaintiff’s counsel reasonable attorneys' fees,

            litigation expenses and costs; and

      (e)   That the Court grant such further relief as deemed just and equitable

            in light of the circumstances.

                                      Dated: August 24, 2021.

                                      Respectfully submitted,

                                      /s/Craig J. Ehrlich
                                      Craig J. Ehrlich
                                      Georgia Bar No. 242240
                                      The Law Office of Craig J. Ehrlich, LLC

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        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman

and a point size of 14.

                                    /s/Craig J. Ehrlich
                                    Craig J. Ehrlich




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